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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 21-6265 MRW Date November 23, 2021

 

Title Kyu Hwa Back v. Young Hee Choi

 

Present: The Honorable Michael R. Wilner

 

 

Veronica Piper None
Deputy Clerk Court Smart / Reporter
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
None Present None Present
Proceedings: (IN CHAMBERS) ORDER DISMISSING CASE

Plaintiff filed a notice dismissing this case with prejudice. (Docket # 10.) This action is
dismissed with prejudice.

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